         Case 1:03-cr-00017-LJM-TAB                          Document 23                 Filed 09/19/12            Page 1 of 2 PageID #:
                                                                    130
OAO 245D         (Rev. 12/07) Judgment in a Criminal Case for Revocations
                 Sheet 1



                                         UNITED STATES DISTRICT COURT
                       SOUTHERN                                       District of                                    INDIANA
          UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                               V.                                                 (For Revocation of Probation or Supervised Release)


              DAVID NEAL SMITH, JR.                                               Case Number:                     1:03CR00017-002
                                                                                  USM Number:                      05978-028
                                                                                  Michael Donahoe
                                                                                  Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to Violation Number(s)                                     1-3                     of the term of supervision.

G was found in violation of Violation Number(s)                                                                    after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number                  Nature of Violation                                                                    Date Violation Concluded
          1                       Failure to report for random urine testing                                                        6/23/12
          2                       Failure to notify USPO of change in address                                                        6/4/12
          3                       Leaving the district without permission                                                           6/22/12




        The defendant is sentenced as provided in pages 2 through                        2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X The defendant has not violated condition(s)                         4 and 5                and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.:    0023                            9/11/2012
                                                                                  Date of Imposition of Judgment
Defendant’s Year of Birth:                        1976

City and State of Defendant's Residence:
                                                                                  Signature of Judicial Officer
Indianapolis, IN


                                                                                  Honorable Larry J. McKinney, Sr. U.S. District Court Judge
                                                                                  Name and Title of Judicial Officer
                A CERTIFIED TRUE COPY
                Laura A. Briggs, Clerk                                             September 19, 2012
                U.S. District Court                                               Date
                Southern District of Indiana

                By
                                      Deputy Clerk
AO 245D       Case    1:03-cr-00017-LJM-TAB
              (Rev. 12/07                                         Document 23
                          Judgment in a Criminal Case for Revocations                 Filed 09/19/12      Page 2 of 2 PageID #:
              Sheet 2— Imprisonment
                                                                         131
                                                                                                         Judgment — Page   2       of   2
DEFENDANT:                    DAVID NEAL SMITH, JR.
CASE NUMBER:                  1:03CR00017-002


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :    24 months




    X The court makes the following recommendations to the Bureau of Prisons:
          Designation to Terre Haute, Indiana, facility

    X The defendant is remanded to the custody of the United States Marshal.

    G The defendant shall surrender to the United States Marshal for this district:
          G     at                                G a.m.        G p.m.           on                                            .

          G     as notified by the United States Marshal.

    G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

a                                                   with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL


                                                                                By
                                                                                                 DEPUTY UNITED STATES MARSHAL
